
706 S.E.2d 245 (2011)
STATE of North Carolina
v.
Forest William WOOTEN.
No. 38P11.
Supreme Court of North Carolina.
March 10, 2011.
Latoya B. Powell, Assistant Attorney General, for State of North Carolina.
Forest William Wooten, for Wooten, Forest William.
Locke Bell, District Attorney, for State.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Defendant-Appellant on the 25th of January 2011 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 10th of March 2011."
Upon consideration of the petition filed on the 25th of January 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th of March 2011."
JACKSON, J. recused.
